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               Exhibit A
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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION

 NETLIST, INC.,                                   §
                                                  §
                Plaintiff,                        §
                                                  §
 v.                                               §   CIVIL ACTION NO. 2:22-CV-00294-JRG
                                                  §
 MICRON TECHNOLOGY, INC., et al.                  §
                                                  §
                Defendants.                       §

                             MEMORANDUM OPINION AND ORDER
       Before the Court is the Rule 50(b) Motion for Judgment as a Matter of Law for

Non-Infringement Regarding U.S. Patent Nos. 7,619,912 and 11,093,417 (the “Motion”) filed by

Defendants Micron Technology, Inc., Micron Semiconductor Products, Inc., and Micron

Technology Texas, LLC. (collectively, “Micron” or “Defendants”). (Dkt. No. 159.) In the Motion,

Micron moves for judgment as a matter of law of non-infringement for U.S. Patent Nos. 7,619,912

and 11,093,417 pursuant to Rule 50(b) of the Federal Rules of Civil Procedure. (Id. at 1.) For the

reasons discussed herein, the Court finds that the Motion should be DENIED.

I.     BACKGROUND

       Plaintiff Netlist, Inc. (“Plaintiff” or “Netlist”) alleged that Micron infringes claim 16 of

U.S. Patent No. 7,619,912 (the “’912 Patent”) and claims 1, 2, 8, 11–14 of U.S. Patent No.

11,093,417 (the “’417 Patent”) (collectively, the “Asserted Patents”). (Dkt. No. 100; Trial Tr. at

1075:11-15.) After a trial in this case, the jury returned a unanimous verdict finding that

Defendants infringed the Asserted Patents, that Defendants owed a total of $445,000,000 in

damages for their infringement, and that Defendants willfully infringed the Asserted Patents.

(Dkt. No. 135 at 4-6.) Micron now moves for judgment as a matter of law of non-infringement for

the ’912 and ’417 Patents. (Dkt. No. 159 at 1.)
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II.    LEGAL STANDARD

       “Judgment as a matter of law is proper when ‘a reasonable jury would not have a legally

sufficient evidentiary basis to find for the party on that issue.’” Abraham v. Alpha Chi Omega, 708

F.3d 614, 620 (5th Cir. 2013) (quoting Fed. R. Civ. P. 50(a)). The non-moving party must identify

“substantial evidence” to support its positions. TGIP, Inc. v. AT&T Corp., 527 F. Supp. 2d 561,

569 (E.D. Tex. 2007). “Substantial evidence is more than a mere scintilla. It means such relevant

evidence as a reasonable mind might accept as adequate to support a conclusion.” Eli Lilly & Co.

v. Aradigm Corp., 376 F.3d 1352, 1363 (Fed. Cir. 2004).

       “The Fifth Circuit views all evidence in a light most favorable to the verdict and will

reverse a jury’s verdict only if the evidence points so overwhelmingly in favor of one party that

reasonable jurors could not arrive at any contrary conclusion.” Core Wireless Licensing S.A.R.L.

v. LG Elecs., Inc., 880 F.3d 1356, 1361 (Fed. Cir. 2018) (citing Bagby Elevator Co. v. Schindler

Elevator Corp., 609 F.3d 768, 773 (5th Cir. 2010)). A court must “resolve all conflicting evidence

in favor of [the verdict] and refrain from weighing the evidence or making credibility

determinations.” Gomez v. St. Jude Med. Daig. Div. Inc., 442 F.3d 919, 933 (5th Cir. 2006).

III.   DISCUSSION

       In the Motion, Micron moves pursuant to Rule 50(b) of the Federal Rules of Civil

Procedure for judgment as a matter of law of non-infringement for the ’912 and ’417 Patents.

(Id. at 1.) The Court begins by addressing the Motion as to the ’912 Patent.

       A.      The ’912 Patent

       Micron contends that it is entitled to judgment as a matter of law of non-infringement as to

(1) all accused products on the grounds that Netlist failed to prove that command signals are

“transmitted to only one DDR memory device at a time,” and as to (2) the accused dual-rank



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RDIMM devices on the grounds that Netlist failed to prove that output signals control more devices

and ranks than input signals. (Dkt. No. 159 at 1-2, 11.)

               1.      Micron’s Motion for JMOL on All Accused Products on the Grounds
                       that Netlist Failed to Prove that Command Signals are “Transmitted to
                       Only One DDR Memory Device at a Time”

       In the Motion, Micron asks the Court to grant judgment as a matter of law of

non-infringement of the ’912 Patent as to all accused products on the grounds that Netlist failed to

prove “the command signal is transmitted to only one DDR memory device as a time,” as recited

by claim 16. (Dkt. No. 159 at 1, 6.) Micron contends, instead, that the undisputed evidence

established that the command signal is not “transmitted to only one DDR memory device at a time”

because the command signal is “transmitted to all memory devices” at a time. (Id. at 1, 7)

(emphasis added). As support, Micron points out that Netlist’s technical expert,

Dr. Mangione-Smith, admitted that the command signals are transmitted “towards all DRAM

memory devices” at the same time over a shared line (BUS) that connects all DRAMs in a rank.

(Id. at 2 (citing Trial Tr. at 486:25-488:4) (emphasis added).)

       Netlist responds that substantial evidence supports the jury’s finding that the “transmitted

to only one DDR memory device at a time” limitation is met. (Dkt. No. 173 at 1.) Netlist first

argues that because the Court did not construe “transmitted to,” the Court should defer to the

“jury’s view of the claim element unless that view is contrary to the only reasonable view of the

claim element.” (Id. (citing VLSI Tech. LLC v. Intel Corp., 87 F.4th 1332, 1341 (Fed. Cir. 2023).)

Netlist then argues that Micron’s non-infringement argument hinges on the interpretation that

“transmit to” means “transmit towards,” which Netlist argues that the jury heard and rejected. (Id.)

Specifically, Netlist points out that Dr. Mangione-Smith distinguished “transmitted to” from

“transmitted towards” at trial, stating:


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       Q. You don’t believe that at the time the DRAM ignores the MRS command, that
       it’s been sent to that DRAM?
       A. I don’t believe that it’s been transmitted to it. It’s been transmitted maybe
       towards it in that direction but not to it.
       Q. Okay. So that’s a little bit of a difference here.

(Id. at 4-5 (citing Trial Tr. at 486:20-25) (emphasis removed).) Consequently, Netlist contends that

after Micron “invited the jury to decide whether the plain meaning of ‘transmitted to’ was

‘transmitted towards,’ the jury weighed the evidence and rejected” Micron’s interpretation. (Id. at 5.)

       Despite this evidence, Micron contends that Dr. Mangione-Smith interpreted the claim

language “transmitted to” to require a transmission and receipt of the transmission. (Dkt. No. 159

at 2-3 (citing Trial Tr. at 489:23-25).) Micron argues that this interpretation is improper because

(1) it adds limitations, such as “received,” beyond the plain claim language “transmitted to,” which

the specification and claims use separately and distinctly from “transmit,” and (2) no explanation

was given as to how any intrinsic or extrinsic evidence supports Dr. Mangione-Smith’s

interpretation. (Id. at 8-9; see also Dkt. No. 178 at 2-3.) Nevertheless, Micron argues that even

under Netlist’s improper interpretation, the evidence at trial established that the command signal

is transmitted to and received by every DDR memory device in a rank. (Id. at 3.)

       Netlist responds that it is Micron who has attempted to rewrite the claim limitation by

changing “transmitted to” to “transmitted towards.” (Dkt. No. 173 at 4.) Notably, Netlist further

responds that Micron never objected to Dr. Mangione-Smith’s testimony as improper claim

construction or as inconsistent with the plain meaning of the claims. (Dkt. No. 185 at 1 (citing Dkt.

No. 178 at 2).) Regardless, Netlist argues that Dr. Mangione-Smith did not attempt to write

additional limitations into the claims; rather, he applied the plain and ordinary meaning of

“transmitted to” in his infringement analysis. (Dkt. No. 173 at 6.) As support, Netlist emphasizes

several pieces of evidence showing infringement under the plain and ordinary meaning. (Id. at 6.)

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       For example, Netlist points out that Dr. Mangione-Smith explained to the jury that it is the

per-DRAM addressability (“PDA”) mode functionality of the accused products that enables MRS

commands to be transmitted to a single DRAM on a rank. (Id. at 6 (citing Trial Tr. at

357:20-364:24, 505:22-508:23).) Netlist also points out that it was Micron’s corporate

representative, Mr. Ross, who testified that PDA mode is “used for accessing -- or addressing only

a single DRAM device at a time.” (Id. at 6 (citing Trial Tr. at 537:20-23).) Moreover, Netlist notes

Dr. Mangione Smith testified that even though other DRAMs shared some common signal lines,

the MRS command would be transmitted only to the selected DRAM. (Id. at 6 (citing Trial Tr. at

508:9-23).) Netlist also points out that only one DRAM will receive the command and do what the

command says as a result of this transmission of a command signal to a single DRAM. (Id. at 6

(citing Trial Tr. at 360:16-361:21).)

       Micron argues, however, that even if the plain meaning of “transmitted to” included

“received by,” the evidence established that the MRS command is transmitted to and received by

“every” DDR memory device. (Dkt. No. 159 at 3; Dkt. No. 178 at 3.) As support, Micron cites

Dr. Mangione-Smith’s testimony that the MRS commands are transmitted before the DQ0 signals

(which put the memory device receivers into standby mode) are transmitted. (Id. at 3 (citing Trial

Tr. at 440:22-24; 471:21-24; 477:5-7; 508:9-19).) Micron further contends that Dr. Stone

explained how the process for exiting PDA mode demonstrates that the memory devices receive

commands even while in PDA mode. (Id.) Consequently, Micron argues it is unreasonable to

assume the accused command signals are not transmitted to and received by each DRAM when

the evidence shows that the DQ0 signals, which turn off some DRAMS and activate one of the

DRAMs, do not arrive until after the MRS commands have already been sent. (Id. at 9-10 (citing

Trial Tr. at 675:21-676:16); see also Trial Tr. at 508:9-23; Dkt. No. 178 at 3).)



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       In response, Netlist cites Dr. Mangione-Smith’s testimony that the command signal has not

been “transmitted to” any of the DRAMs “until the point in time when the DQ0 signal turns off

some DRAMS and activates one.” (Dkt. No. 173 at 4 (citing 507:17-508:23; see also 362:8-10

(“[JX-9] tells me that the MRS commands are qualified with DQ0. That means if DQ0 is not set

low, the DRAM chip is not going to receive and execute that MRS command.”).) Netlist argues

that this is consistent with the specification’s description stating that “[t]his is an embodiment in

which only one device does what the command says.” (Id. at 6-7 (citing Trial Tr. at 725:16-726:8).)

Further, Netlist points out that Micron’s argument about exiting PDA mode improperly focuses on

Step 3 (“Take DRAM out of PDA mode”), instead of Step 2 (“Program the unique DRAM

locations by using posted MRS commands, address inputs and DQ[0].”) (Dkt. No. 185 at 3.)

Ultimately, Netlist contends that substantial evidence supports the jury’s finding that PDA mode

infringes the “transmitted to” limitation of claim 16. (Id.)

       After reviewing the evidence, the Court finds that substantial evidence supports the jury’s

finding that the “transmitted to only one DDR memory device at a time” limitation is met. As a

preliminary matter, the Court did not construe that term and therefore defers to the jury’s view of

the plain and ordinary meaning of the claim element unless that view is contrary to the only

reasonable view of the claim element. See VLSI Tech. LLC, 87 F.4th 1332 at 1341; see also Solas

OLED Ltd. v. Samsung Display Co., No. 2:19-CV-00152-JRG, 2021 WL 4950308, at *11 (E.D.

Tex. Oct. 25, 2021) (“The Court initially notes that ‘connected’ was not construed by the Court

and the jury was instructed to apply the plain and ordinary meaning. The Court also finds that

Plaintiff presented sufficient evidence on this issue. Mr. Credelle testified that the claim limitation

was met.”). In this case, Micron’s non-infringement argument hinges on the interpretation that

“transmit to” requires only being “transmitted towards.” (Dkt. No. 159 at 1.) Since the Court does



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not find that “transmitting towards” is the “only reasonable view” of the claim element

“transmitting to,” the Court defers to the jury’s view of the claim. See VLSI Tech. LLC, 87 F.4th

1332 at 1341; Avid Tech., Inc. v. Harmonic, Inc., 812 F.3d 1040, 1048 (Fed. Cir. 2016) (“The case

went to the jury without a construction of the key ‘in files’ language, and Avid has not met its

burden of showing that it has the only reasonable view of the claim element as long as it is un-

construed.”).) Here, after hearing Micron’s argument, the jury rejected it.

          Moreover, in addition to the testimony already discussed above, the jury heard testimony

from several witnesses, including Dr. Mangione-Smith, Mr. Frank Ross, and Dr. Harold Stone,

that would allow them to conclude that claim 16 was infringed. Dr. Mangione-Smith, for example,

cited a Micron document discussing PDA mode (JX-9) and testified that “a number of reasons”

demonstrate that “Micron’s devices transmit command signals to only one DDR memory device

at a time.” (Trial Tr. at 506:1-8.) The jury heard Dr. Mangione-Smith testify that JX-9 states that

PDA mode allows Micron’s devices to “program devices individually.” (Id. at 506:8-9.) The jury

heard evidence that individual programmability would not have been possible if the MRS

command were transmitted to all the devices on a rank as opposed to only one device at a time.

(Id. at 506:13-16.) The jury also heard evidence from Dr. Mangione-Smith that the “DQ0 [signal]

is used to control which individual DRAM the MRS message is transmitted to” such that the

command signals are not transmitted to any of the DRAMs until the DQ0 activates one DRAM.

(Id. at 507:14-21.) The jury could have reasonably found that a command signal is not “transmitted

to” a DDR memory device unless “the command signals in PDA mode are addressed to a single

DRAM device” and the device receives them. 1 (Id. at 507:6-9.)


1
    The Court notes that counsel for Micron used an analogy during its cross-examination of Dr. Mangione-Smith that
    was focused on the claim limitation “transmitted to” as compared with the same limitation when characterized as
    “transmitted towards.” (See, e.g., Trial Tr. at 488:10-490:3.) In that analogy, counsel for Micron asked whether he
    would have “transmitted [envelopes] to” all twenty people in Dr. Mangione-Smith’s neighborhood if counsel had

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        The jury also heard testimony from Micron’s own witnesses, Frank Ross, Scott Cyr, and

Dr. Stone, that would enable them to conclude this limitation was satisfied. For example,

Mr. Ross testified that when a DRAM is not selected, its receiver for the command and address

signals are disabled, and that DRAM does not receive any command signal. (Trial Tr. at 529:20-25;

see also Trial Tr. at 530:13-18 (“Q. And so in the per-device addressability mode, the selected

DRAM will receive the command address signal while the ones that’s not -- that are not selected

will have their receivers in the standby mode and ignore the command address signals. Is that

correct? A. That’s right.”).) Likewise, Dr. Stone admitted that “it’s possible in PDA mode to tell

one device in a rank and one device only to execute that MRS command.” (Trial Tr. at 731:10-12.)

Finally, Mr. Cyr, a Micron engineer designated as a 30(b)(6) witness on technical issues, testified

that in PDA mode “if the rank activated for the MRS command, if only device has its DQ0 low,

that will be the only device to accept the MRS commands.” (Dkt. No. 560:10-15.) Based on the

testimony from Mr. Ross, Dr. Stone, and Mr. Cyr, the jury could reasonably reject the argument

that the command signals are transmitted to all devices and conclude that command signal is

selectively transmitted only to specific devices.

        Ultimately, the Court finds that substantial evidence supports the jury’s finding that the

command signals are transmitted to only one DDR memory device at a time. Accordingly, the

Court finds that judgment as a matter of law for non-infringement of the ’912 Patent is not

appropriate under Micron’s “transmitted towards” argument.




  addressed the envelopes and put them in the mail. (See id. at 489:18-21.) Dr. Mangione-Smith confirmed that
  counsel may have transmitted them “towards” everyone in the neighborhood, but he would not have transmitted
  them “to” everyone in the neighborhood unless the addressees actually receive them. (See id. at 489:18-25.) After
  hearing Micron’s analogy, the jury could have concluded, under the plain and ordinary meaning of “transmitted to,”
  that the command signals were transmitted to only one DDR memory device at a time as recited by claim 16.

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                2.     Micron’s Motion for JMOL on the Dual-Rank RDIMM Products on
                       the Grounds that Netlist Failed to Prove Claim 16’s Requirement that
                       Output Signals Control More Devices and Ranks Than Input Signals

        With respect to only the accused dual-rank RDIMM products, Micron contends it is entitled

 to judgment as a matter of law of non-infringement of the ’912 Patent for a second, independent

 reason. (Dkt. No. 159 at 11.) Specifically, Micron contends that neither of Netlist’s two

 infringement theories can satisfy claim 16’s requirement that input signals controlling a second

 number of ranks be smaller than the first number of ranks controlled by the output signals.

 (Dkt. No. 159 at 1, 11; JX-02.45.)

        Claim 16 of the ’912 Patent recites, inter alia:

        a circuit coupled to the printed circuit board, the circuit comprising a logic element
        and a register, the logic element receiving a set of input signals from the computer
        system, the set of input signals comprising at least one row/column address signal,
        bank address signals, and at least one chip-select signal, the set of input signals
        configured to control a second number of DDR memory devices arranged in a
        second number of ranks, the second number of DDR memory devices smaller than
        the first number of DDR memory devices and the second number of ranks less than
        the first number of ranks, the circuit generating a set of output signals in response
        to the set of input signals, the set of output signals configured to control the first
        number of DDR memory devices arranged in the first number of ranks

 (JX-02.45, ’912 Patent Claim 16).

        Micron claims that Netlist’s primary infringement theory for the accused quad-rank

 devices, which relied on Encoded Quad Chip Select (“QuadCS”) mode, fails as to the dual-rank

 devices because Netlist presented no evidence that the dual-rank devices use the Encoded QuadCS

 mode and the undisputed evidence demonstrated that the dual-rank devices lack the required

 connectivity/wires to operate in Encoded QuadCS mode. (Id. at 1-2.) Micron also claims that

 Netlist’s alternative infringement theory based on single-rank MRS command mode fails because

 it relates to LRDIMM products, not RDIMM products, and because it mixes and matches features



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 from two distinct modes—i.e., single-rank MRS command mode and PDA mode—that do not

 work together. (Id. at 2.)

        Netlist responds that a reasonable jury could find that claim 16’s requirement that the RCD

 provides output signals that control a greater number of memory devices and ranks than input

 signals is met by the accused dual-rank RDIMMs based on either of its two independent theories

 presented by Dr. Mangione Smith. (Dkt. No. 173 at 2.)

        Regarding its single-rank MRS command theory, Netlist contends that Micron’s Motion

 simply presents waived attorney arguments that are procedurally improper and substantively

 insufficient to overturn the jury’s verdict as attorney arguments are not evidence. (Id.) Further,

 Netlist contends that Dr. Mangione-Smith explained why the limitation was met under the single-

 rank MRS command theory, and Dr. Stone admitted he did not dispute that theory at trial. (Id.)

 Netlist claims that a reasonable jury, therefore, could conclude that Micron did not dispute the

 infringement under the single-rank MRS command theory and find infringement accordingly. (Id.)

        Regarding its Encoded QuadCS mode theory, Netlist contends that Micron not only

 improperly reurges its failed summary judgment argument, but that a reasonable jury could accept

 Dr. Mangione-Smith’s explanation that the RCD on a dual-rank RDIMM is configured to support

 the Encoded QuadCS mode because the RCD would not know beforehand which configuration

 the memory controller will place the memory module in and has to support whatever configuration

 is set by the memory controller. (Id.)

        The Court now addresses whether there is substantial evidence to support the jury’s

 infringement verdict under either theory:

                        a. The Single-Rank MRS Command Theory

        Netlist contends not only that there is substantial evidence that dual-rank RDIMMs infringe

 based on the single MRS command theory, but that this theory is sufficient for the Court to uphold
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 the jury’s infringement verdict as to the ’912 Patent. (Dkt. No. 173 at 18-19 (citing Innovation

 Scis., LLC v. Amazon.com, Inc., No. 2021-2111, 2022 WL 2824675, at *2 (Fed. Cir. July 20, 2022),

 cert. denied, 143 S. Ct. 779 (2023) (“When a jury returns a general verdict for which there are

 multiple independent factual bases, however, a lack of substantial evidence for some of those bases

 does not warrant JMOL.”) (citing Walther v. Lone Star Gas Co., 952 F.2d 119, 126 (5th Cir. 1992)

 (“[W]e will not reverse a verdict simply because the jury might have decided on a ground that was

 supported by insufficient evidence.”); Northpoint Tech., Ltd. v. MDS Am., Inc., 413 F.3d 1301,

 1311 (Fed. Cir. 2005) (“[E]ven if some of the proposed factual grounds for liability are not legally

 sufficient to support a verdict, that is not fatal, because the critical question is whether the evidence,

 taken as a whole, was sufficient to support the jury’s verdict.” (collecting cases)).) Netlist

 contends, in other words, that the Court “must uphold the verdict if substantial evidence supports

 any of the proffered factual bases.” Innovation Scis., LLC, 2022 WL 2824675, at *2.

         Under this first theory, Netlist contends that Dr. Mangione-Smith presented unrebutted

 evidence that the single-rank MRS commands satisfy the limitation for all accused products.

 (Dkt. No. 173 at 13.) Specifically, Netlist contends that Dr. Mangione-Smith testified that the

 single-rank MRS commands for multi-rank settings meet the disputed limitation in all accused

 products and Micron chose not to cross him on this issue. (Id. (citing Trial Tr. at 352:9-17; see

 also 431-504 (cross); 525-527 (re-cross).) Netlist also contends that Micron chose not to have its

 own expert, Dr. Stone, address this issue. (Id. (citing Trial Tr. at 747:13-15 (“Q. You said

 absolutely nothing about Doctor Mangione-Smith’s analysis of a single-rank MRS command

 capability. Correct? A. That is correct.”).) Netlist contends that given Micron’s silence on this

 theory during trial, the jury could have reasonably found infringement under the uncontested

 single-rank MRS command theory. (Id.)



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        In its Motion, Micron argues that this theory fails because “all the evidence at trial related

 only to ‘LRDIMM applications,’ not dual-rank RDIMM applications.” (Dkt. No. 159 at 17; see

 also id. at 2 (“Netlist’s alternative infringement theory, using a single-rank MRS command mode,

 relates to LRDIMM products, not RDIMM products.”).) Specifically, Micron argues that

 Dr. Mangione-Smith attempted to prove that Micron’s accused products use single-rank MRS

 mode commands by identifying Table 12 and its footnote from DX-29 at 43. (Dkt. No. 159 at 18.)

        While nothing in Table 12 or the footnote limits this to LRDIMM applications, Micron

 argues that it is applicable only to LRDIMM applications because it is part of a section titled “DQ

 Bus Termination in LRDIMM application.” (Id. (citing DX-29 at 41).) Micron further argues that

 though Dr. Mangione-Smith cites exhibits PX-5a-c as support for his theory, each of these exhibits

 also identify that they are applicable only in LRDIMM applications. (Id. (citing PX-5a.48-50;

 PX-5b.25-27; PX-5c.31-33).) Furthermore, Micron argues that “single-rank MRS commands are

 used to configure the BODT setting in data buffers found only in LRDIMMs, thus confirming

 such commands are only applicable to LRDIMM applications.” (Id. (citing DX-29.41-42)

 (emphasis original) (footnote omitted); Dkt. No. 178 at 5 (“RDIMMs do not have data buffers.”)

 Micron claims, therefore, that Dr. Stone did not address this alternative theory because Netlist did

 not carry its burden in the first instance. (Dkt. No. 159 at 18; Dkt. No. 178 at 5.)

        Netlist responds that nothing in the document actually states that the table presented to the

 jury is applicable only to LRDIMs. (Dkt. No. 173 at 14; Dkt. No. 185 at 5-6.) Netlist further

 responds that while Micron argues that a “BODT” (i.e., Buffer On-Die Termination) setting relates

 to data buffers and thus is only configured in LRDIMM products, Table 12 describes how RCD



                                                                (Id. at 15) (emphasis original).)



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        Micron next argues that the single-rank MRS command mode theory fails because the

 record establishes that dual-rank RDIMMs are not “reasonably capable” of implementing

 single-rank MRS commands using the TGIP factors. (Dkt. No. 159 at 19.) Specifically, Micron

 argues that the dual-rank RDIMMs are not reasonably capable of using single-rank MRS

 commands because (1) the evidence shows that Micron and other industry participants did not

 intend or anticipate that customers would modify the accused device to operate in an infringing

 manner, (2) no evidence shows that Micron’s RDIMMs were ever designed to be altered or

 assembled to use single-rank MRS commands, (3) the technical documents only demonstrate that

 LRDIMM, not RDIMM, products implement single-rank MRS command mode and confirm that

 RDIMMs would not actually operate or in any way use such commands, and (4) no evidence shows

 that single-rank MRS commands would serve any purpose in RDIMM applications given those

 commands configure settings in data buffers found only in LRDIMMs, not RDIMMs. (Id.)

 Consequently, Micron argues that none of the evidence Netlist presented supports that the dual-

 rank RDIMMs are reasonably capable of using single-rank MRS commands, which Micron claims

 are used only in LRDIMM applications to configure buffers that RDIMMs do not have. (Id. at 20.)

        Netlist responds that Micron “failed to present any counter-evidence at trial” and now

 “resorts to post hoc attorney arguments on theories disclosed for the first time in its motion.”

 (Dkt. No. 173 at 13-14.) Netlist notes, for example, that Dr. Stone’s rebuttal report does not

 contend that the disclosure relied on by Dr. Mangione-Smith applies only to LRDIMMs, and not

 to RDIMMs. (Id. at 14.) Netlist further notes that Dr. Stone did not opine that single-rank MRS

 commands are used to configure the BODT setting in data buffers found only in LRDIMMs. (Id.)

 In sum, Netlist contends that the jury neither heard nor saw evidence supporting Micron’s new

 interpretation or rebutting Dr. Mangione-Smith’s testimony. (Id.) Netlist contends, therefore, that



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 Micron is “asking the Court to make a de novo assessment of a technical document based on

 Micron’s post-trial attorney argument,” which is no substitute for its expert’s testimony. (Id. (citing

 e.g., Invitrogen Corp. v. Clontech Lab’ys, Inc., 429 F.3d 1052, 1068 (Fed. Cir. 2005)

 (“Unsubstantiated attorney argument regarding the meaning of technical evidence is no substitute

 for competent, substantiated expert testimony.”); see also Becton, Dickinson & Co. v. Tyco

 Healthcare Grp., LP, 616 F.3d 1249, 1259–60 (Fed. Cir. 2010) (“Becton never argued at trial that

 Boyce’s force displacement test showed that the hinges contributed in any way to the movement

 of the guard. No witness, either on direct or cross-examination, testified that Boyce’s tests reflected

 any such movement. Unsupported attorney argument, presented for the first time on appeal, is an

 inadequate substitute for record evidence.”).)

         Netlist contends, instead, that the jury heard substantial evidence that the single-rank MRS

 commands meet the limitation at issue in claim 16. (See Dkt. No. 173 at 12-18.) Netlist notes that

 Dr. Mangione-Smith began by explaining what MRS commands are and their general use in the

 accused products. (Id. at 15 (citing Trial Tr. at 348:12-349:23).) Dr. Mangione-Smith then

 presented an example of using MRS commands to set the DRAM chips’ burst lengths to

 demonstrate infringement. (Id. (citing Trial Tr. at 349:24-350:12).) He testified that the input

 signals of the disputed limitation are met, for example, by the host sending an MRS command to

 set the burst length of the devices in rank 0. (Id. (citing Trial Tr. at 350:13-19).) He further testified

 that the JEDEC RCD specification and third-party RCD data sheets states that the RCD “assumes

 that all ranks are configured identically for certain values,” which include “Write/Read Pre-amble,

 Burst length, and Write CRC,” and “may monitor DRAM MRS commands for only rank 0.” (Id.

 at 16 (citing Trial Tr. at 350:20-351:12; DX-29).) Dr. Mangione-Smith further explained that the

 “burst length setting for rank 0 is used to control the burst length setting for all of the ranks because



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 they have to all be the same. And there’s one thing I know for sure is that each DIMM at least has

 a rank of 0.” (Id. at 17 (citing Trial Tr. at 352:9-20).) Accordingly, Netlist contends that this

 demonstrates that Dr. Mangione-Smith’s testimony “applies to all DIMMs at issue, and not just

 the LRDIMMs.” (Id.) Netlist claims, therefore, that there is substantial evidence that Micron’s

 dual-rank RDIMMs are reasonably capable of implementing single-rank MRS commands,

 particularly given that “no contrary evidence was presented to the jury.” (Id.)

        In Micron’s final argument as to why the single-rank MRS command mode theory fails,

 Micron contends that Netlist improperly mixes technical features from two distinct modes.

 (Dkt. Nos. 159 at 20; 178 at 6-7.). Specifically, Micron argues that Dr. Mangione-Smith improperly

 relied on signals transmitted in the distinct PDA mode for infringement. (Id.) Micron contends it

 was improper to rely on commands from two distinct modes because the limitations require that

 the claimed “circuit” respond to the claimed command signal and input signal from the same

 command, and Netlist did not demonstrate whether the two modes can operate concurrently. (Id.)

        Netlist contends, once again, that Micron made no such assertion at trial and now presents

 only waived attorney arguments that are procedurally improper. (Dkt. Nos. 173 at 2, 17; 185 at 6.)

 Netlist also contends that Micron is mistaken because the claim “does not preclude the command

 signals from being sent to different ranks of DRAM devices at different times.” (Id. at 17.) Though

 single-rank MRS commands control all ranks, Netlist contends this does not mean the commands

 are transmitted to all devices at once. (Id.) As an example, Netlist contends that after a particular

 rank is placed into PDA mode, a MR4 command can selectively set a DRAM. (Id. at 18.)

 Accordingly, Netlist contends that there is sufficient evidence to support the jury’s verdict. (Id.)

        Ultimately, the Court finds that there is substantial evidence that dual-rank RDIMMs

 infringe based on the single-rank MRS command theory. In addition to the evidence cited above,



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 the jury heard from Dr. Mangione-Smith that there are “other ways that Micron infringes the claim

 that don’t require it to use encoded quad chip select mode” that are “completely independent from

 the encoded quad chip select mode.” (Trial Tr. at 348:5-10.) The jury heard that

 Dr. Mangione-Smith referred to this theory as “using a single MRS command to settings for

 multiple ranks.” (Trial Tr. at 348:11.) After jury heard that MRS command stands for “mode

 register set” and is a command that “gets sent from the memory controller to the RCD and then

 propagates onward,” Dr. Mangione-Smith testified that Micron’s documents show that Micron’s

 modules use these commands. (Trial Tr. at 348:12-24.) He explained that the MRS commands

 can be used, for example, to set “burst length,” which is when individual DRAMS send four or

 eight chunks of data. (Trial Tr. at 350:1-9.) The jury then heard that a “JEDEC specification,”

 marked as exhibit DX-29, states that the “RCD assumes that all ranks are configured identically

 with regards to certain values, one of which is burst length” and that Micron “implement[s] this

 functionality into its products.” (Trial Tr. at 351:1-15.) The jury further heard Dr. Mangione-Smith

 testify that he knows Micron implements this functionality into its “RDIMM products and the

 LRDIMM products,” because exhibits JX 4 and JX 5 state that Micron’s devices comply with the

 JEDEC specification. (Trial Tr. at 351:16-352:17.) Furthermore, evidence presented to the jury

 showed that there were no material differences between RDIMMs and LRDIMMs for infringement

 of claim 16 of the ’912 Patent. (See, e.g., Trial Tr. at 331:20-332:14 (“Q. Does Micron sell a variety

 of different RDIMM products and LRDIMM products? A. Yes. Q. Does your infringement

 analysis apply equally to all those products? A. Yes. There are no differences among them that

 affect my opinion.”); 333:18-19).) The jury was also presented with evidence from Table 12

 describing how RCD




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                                                                     ) Having considered the totality of the

 evidence presented to the jury in this case, the Court rejects Micron’s argument that all the

 evidence at trial related only to LRDIMM applications, not dual-rank RDIMM applications.

           The Court also agrees with Netlist that Micron failed to present any counter-evidence at

 trial and now resorts to post hoc attorney arguments on theories disclosed for the first time in its

 Motion. Notably, Micron cites to no evidence in the record presented to the jury establishing that

 the single-rank MRS command applies only to LRDIMMs, and not to RDIMMs. 2 Consequently,

 the jury neither heard evidence or testimony rebutting Dr. Mangione-Smith’s testimony on this

 theory nor did Micron present this theory to the jury. (Id.) The Court will not make a de novo

 assessment now based on Micron’s post-trial attorney argument, which is no substitute for the

 evidence presented to the jury for their consideration at trial. See Becton, Dickinson & Co., 616

 F.3d at 1259–60 (“Becton never argued at trial that Boyce’s force displacement test showed that

 the hinges contributed in any way to the movement of the guard. No witness, either on direct or

 cross-examination, testified that Boyce’s tests reflected any such movement. Unsupported attorney

 argument, presented for the first time on appeal, is an inadequate substitute for record evidence.”).)

           Accordingly, the Court finds that Netlist’s single-rank MRS command theory is sufficient

 for the Court to uphold the jury’s finding of infringement of the accused dual-rank RDIMMs.

 The Court will, nevertheless, address whether Netlist’s encoded QuadCS mode theory is also

 sufficient to uphold the verdict.




 2
     Micron claims that Dr. Stone did not discuss whether dual-rank RDIMM products are configured to implement
     single-rank MRS command mode because Netlist had only presented evidence regarding “LRDIMM (i.e., not
     RDIMM) products.” (Dkt. No. 159 at 6.) While Micron could easily have presented this contention to the jury at
     least once, Micron points to no such evidence in the record.

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                       b. The Encoded QuadCS Mode Theory

        Netlist contends that though substantial evidence supports the jury’s finding of

 infringement of dual-rank RDIMMs based on the single MRS command theory and is sufficient

 for the Court to uphold the verdict, there is also substantial evidence in the record supporting a

 finding the accused products are capable of utilizing Encoded QuadCS mode. (Dkt. No. 173 at 18.)

        As support, Netlist points to Dr. Mangione-Smith’s testimony at trial that Micron’s

 RDIMM and LRDIMM datasheets explain that all RDIMMs and LRDIMMs are capable of using

 Encoded QuadCS mode:

        Q. And so is it your understanding that Micron and its expert are taking the view
        that at least some of their memory modules simply cannot use encoded quad chip
        select mode?
        A. Yes, I recall hearing that.
        Q. Do you agree with that?
        A. No.




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            (Dkt. No. 173 at 19 (emphasis original) (citing Trial Tr. at 346:14-347:1). Additionally,

 Netlist notes that, on cross-examination, Dr. Stone confirmed that Micron’s datasheet for its RDIMM

 products discusses

              . 3 (Id. at 21 (citing Trial Tr. at 744:14-20 (“Q. Sure. This is Micron’s data sheet for its

 RDIMM products. Correct? A. That’s correct.




                                                                   Micron contends that Netlist’s expert “blatantly

 mischaracterizing a clear statement in a document like this is not substantial evidence.” (Id.)

            Netlist also points to Dr. Mangione-Smith testimony at trial where he explained that the

 dual-rank RDIMMs are capable of using Encoded QuadCS mode because the “module” is

 controlled by the “memory controller,” which is sometimes referred to as the “host,” and “if the

 host tells it to go into encoded quad chip select, it will do it.” (Dkt. No. 173 at 20 (citing Trial Tr.

 at 347:2-14).) He further explained that he was not “aware of any RDIMM or LRDIMM that

 Micron sells that doesn’t have this capability to use encoded quad chip select mode” because “all”

 the RDIMMs and LRDIMMs “use the same RCD, and so their RCDs can be programmed in

 exactly that [encoded quad select] mode.” (Id. (citing Trial Tr. at 347:18-23).) As further support,

 Netlist notes that Dr. Mangione-Smith discussed testimony from Mr. Cyr to prove his point that

 “[i]f the host wants the device to go into encoded quad chip select mode, it will do that.” (Id. (citing

 Trial Tr. at 347:24-348:4); see also Trial Tr. at 558:9-14 (“Q. Are there any RDIMM or LRDIMMs


 3
     Netlist notes that though the LRDIMMs and RDIMMs use the same RCDs, Micron’s Motion does not dispute that
     its dual-rank LRDIMMs are configured to use the Encoded QuadCS mode. (Dkt. No. 173 at 21.) Micron responds
     that it does dispute this, but chose to limit the issues raised in post-trial briefing so as to focus the Court’s review
     solely on dual-rank RDIMMs. (Dkt. No. 178 at 9.)

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 that Micron sells that don’t have the capability of per-DRAM addressability or quad mode CS if

 the host instructs them to use it? A. [Mr. Cyr:] Again, we wire the device per the JEDEC

 specification, and that -- that follows the -- the raw card, and it’s – it’s up to the host to decide.”). 4

            Despite this evidence, Micron argues that the “evidence shows that it is impossible for

 Micron’s dual-rank RDIMMs to use the allegedly infringing encoded quad chip select mode

 because these modules do not have the necessary wiring.” (Dkt. No. 159 at 12.) Specifically,

 Micron argues that its “dual-rank RDIMMs” do not have the necessary “four wires” used for chip

 select signals in “encoded quad chip select mode,” and therefore, it is impossible for the dual-rank

 RDIMMs to ever implement Encoded QuadCS mode. (Id. at 13.) As support, Micron cites to

 Dr. Stone’s testimony that “[t]he module does not have the connectivity required by this chip to

 operate” in such a mode because those dual-rank modules “only have two wires” and you cannot use

 the RCD to operate “four wires when you only have two.” (Id. (citing Trial Tr. at 794:3-4; 681:7-9).)

            Micron further argues that not only are its dual-rank RDIMMs incapable of operating in an

 Encoded QuadCS mode, but that Netlist also presented no evidence that its dual-rank RDIMMs

 are reasonably capable based on the TGIP factors. (Dkt. No. 159 at 13-14 (citing INVT SPE LLC

 v. Int’l Trade Comm’n, 46 F.4th 1361, 1371–77 (Fed. Cir. 2022) (“[S]ome apparatus claims []

 require an infringing device to actually perform and operate according to the functional terms recited

 in the claims” while “other apparatus claims [] require only capability. . . . Because we require claim

 limitations to have some teeth and meaning, proof of reasonable capability of performing claimed

 functions requires, at least as a general matter, proof that an accused product—when put into

 operation—in fact executes all of the claimed functions at least some of the time or at least once in the



 4
     Micron argues that Mr. Cyr’s testimony regarding the devices being wired per JEDEC specifications actually
     supports Micron’s position that dual-rank modules cannot infringe because they do not have the necessary wires for
     Encoded QuadCS mode. (Dkt. No. 178 at 9.)

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 claim-required environment.”).) Specifically, Micron argues that (1) there is no evidence that

 Micron intended or anticipated that consumers could or would modify the dual-rank RDIMMs to

 used encoded quad chip select mode, (2) no evidence shows that its dual-rank RDIMMs were

 “designed to be altered or assembled” to use encoded quad chip select mode before operation, (3)

 its technical data sheets

                                                                    and (4) using Encoded QuadCS

 mode cannot serve any functional purpose beyond what was already accomplished by its

 configurations using Direct DualCS mode. (Dkt. No. 159 at 14-16.) Consequently, Micron argues

 that the Court should conclude that no substantial evidence exists to show that the accused

 dual-rank RDIMMs infringe claim 16. (Id. at 16.)

        In response, Netlist argues that TGIP is “off point” because there, the court found no

 infringement since the accused product would require actual reprogramming in order to infringe

 the claims. (Dkt. No. 173 at 22 (citing TGIP, Inc. v. AT&T Corp., 527 F. Supp. 2d 561, 573 (E.D.

 Tex. 2007) (“The basic question is whether AT&T’s computerized system infringes a patent claim

 because it is possible that AT&T could reprogram the system in ways that would infringe the

 claim.”).) Netlist argues that the court expressly distinguished its facts from those in Intel Corp.

 v. United States International Trade Commission, stating that “[t]his is not the same issue as in

 Intel Corp., where . . . the accused device was capable of operating in the same mode as the

 invention.” (Dkt. No. 173 at 22 (citing TGIP, 527 F. Supp. 2d at 574) (citing 946 F.2d 821, 832

 (Fed. Cir. 1991).) Netlist further contends that substantial evidence at trial supports a finding that

 all accused DDR4 DIMMs, including dual-ranked RDIMMs, can be placed into Encoded QuadCS

 mode if the host instructs them to do so and without the need for modification. (Dkt. No. 173 at

 22.) Netlist contends this is particularly true given that when Micron’s own counsel asked its



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 infringement expert, Dr. Stone, on direct examination whether “the Micron products” are “capable

 of using [direct quad or encoded quad mode],” Dr. Stone testified equivocally to the jury that “the

 chip may be able to go into the mode, but I doubt it.” (Dkt. No. 185 at 8 (citing Trial Tr. at

 793:19-794:4).)

        Netlist contends that this is a classic battle-of-the-experts case where the jury, after being

 presented with both sides, found in favor of Netlist. (Id.) Netlist argues that the verdict should not

 be disturbed because the Court should respect the jury’s fact-finding role in battle-of-the-expert

 scenarios. (Id. (citing e.g., Anascape, Ltd. v. Nintendo of Am., Inc., No. 9:06-CV-158, 2008 U.S.

 Dist. LEXIS 127518, at *8 (E.D. Tex. 2008) (“This case presented the classic ‘battle of the

 experts,’ and the jury clearly chose to believe Anascape’s infringement expert.”)).

        The Court finds that there is substantial evidence to support infringement under Netlist’s

 Encoded QuadCS mode theory. In addition to the evidence discussed above, the jury heard

 Dr. Mangione-Smith testify that

                                                 (Trial Tr. at 346:14-347:1.) The jury also heard

 Dr. Stone admit that

                                                                       . (Id. at 744:14-20.) Further,

 Dr. Mangione-Smith explained that the dual-rank RDIMMs are capable of using Encoded

 QuadCS mode because the “if the host tells it to go into encoded quad chip select, it will do it.”

 (Id. at 347:2-14.) Micron’s own expert, Dr. Stone, admitted so during his direct examination when

 Micron’s counsel asked whether Micron’s products are capable of using Encoded QuadCS mode.

 (Id. at 793:19-794:4). In that moment, Dr. Stone admitted that “the chip may be able to go into the

 mode, but I doubt it.” (Id.) The jury was entitled to credit Netlist’s evidence and apparently did.

 See Gomez v. St. Jude Med. Daig Div. Inc., 442 F.3d 919, 933 (5th Cir. 2006) (“[The Court] must

 draw all reasonable inferences and resolve all conflicting evidence in favor of [the verdict].”).

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        In conclusion, the Court finds that the jury could reasonably find infringement of claim

 16’s limitation requiring that output signals control more devices and ranks than input signals.

 Accordingly, Micron’s request for judgment as a matter of law of non-infringement of the ’912

 Patent with respect to the accused dual-rank RDIMM products should be denied.

        B.      The ’417 Patent

        Micron contends it is entitled to judgment as a matter of law of non-infringement of all the

 Asserted Claims (Claims 1-2, 8, and 11-14) of the ’417 Patent on the grounds that Netlist failed to

 show that the accused DDR4 LRDIMMs satisfy the “CAS latency limitation” in claim 1 based on

 the Court’s constructions of “overall CAS latency” and “actual operational CAS latency.”

 (Dkt. No. 159 at 24.)

        In the ’417 Patent, the “CAS latency limitation” in Claim 1 requires:

        wherein data transfers through the circuity are registered for an amount of time
        delay such that the overall CAS latency of the memory module is greater than an
        actual operational CAS latency of each of the memory devices.

 (JX-01 at 42:63-67, Claim 1 of the ’417 Patent.)

        In the Court’s Claim Construction Order, the Court construed “overall CAS latency” of a

 memory module as “the delay between: (1) the time when a command is executed by the memory

 module, and (2) the time when data is made available to or from the memory module.” (Dkt. No.

 173-6 at 34.) The Court also construed “actual operational CAS latency” of a memory device as

 “the delay between: (1) the time when a command is executed by the memory device, and (2) the

 time when data is made available to or from the memory device.” (Id.)

        Micron contends that Netlist failed to prove that the CAS latency limitation is satisfied

 because Dr. Mangione-Smith never identified any “starting point or ending point for his analysis

 of the CAS latency terms and the CAS latency limitation.” (Dkt. No. 159 at 24-25.) Micron further



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 contends that Netlist cannot point to any evidence at trial regarding “the delay between (1) the

 time when a command is executed by the memory module, and (2) the time when data is made

 available to or from the memory module,” nor can Netlist point to any evidence that purports to

 be “the delay between: (1) the time when a command is executed by the memory device, and (2)

 the time when data is made available to or from the memory device.” (Id. at 25.) Consequently,

 Micron contends that because Dr. Mangione-Smith failed to identify the delay period for “overall

 CAS latency” to compare to the delay period for “actual operational CAS latency,” he failed to

 prove the CAS latency limitation for either a read command or a write command. (Id.) Ultimately,

 Micron’s position is that Dr. Mangione-Smith provided an incorrect measure of “overall CAS

 latency” by analyzing the time between when a command is “executed by” the memory module

 and when data is “made available to or from” the data buffer contained within the memory module,

 not the actual memory module recited in the Court’s Claim Construction Order. (Dkt. No. 159 at

 22-23, 26.)

           Netlist responds that substantial evidence supports the jury’s infringement verdict.

 (Dkt. No. 173 at 23-24.) 5 First, Netlist begins by contending that the jury could reasonably have

 found that: (1) for the memory module, the “starting point” is when the RCD receives the command

 and the “end point” is when the read data is outputted from the data buffer and thus made available



 5
     Netlist also claims that Micron’s Motion improperly rehashes its Daubert motion, which the Court denied.
     (Dkt. No. 173 at 23-24 (citing Rembrandt Wireless Techs., LP v. Samsung Elecs. Co., No. 2:13-CV-213-JRG, 2016
     WL 362540, at *3 (E.D. Tex. Jan. 29, 2016) (noting that the Federal Circuit has held that a JMOL is not the
     appropriate context for renewing attacks on an expert’s methodology), aff’d, 853 F.3d 1370 (Fed. Cir. 2017)).)
     Micron admits in its Motion that it filed a Daubert motion and a summary judgment motion identifying how
     Dr. Mangione-Smith “improperly focuses on data buffer timing,” which is similar, if not the same, as the issue it
     raises now. (Dkt. No. 159 at 26.) Accordingly, to the extent that Micron attacks Dr. Mangione-Smith’s methodology
     in this Motion, the Court rejects such attempts as improper. One such example is when Micron attacks
     Dr. Mangione-Smith’s analysis, stating that the analysis “cannot be correct” because he used the “data buffer”
     circuit “within a memory module” rather than the “actual memory module.” (Dkt. No. 159 at 26.) This is an
     improper attack on Dr. Mangione-Smith’s methodology. Nonetheless, the Court will review the Motion to the extent
     that Micron challenges the sufficiency of the evidence.


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 from the memory module to the memory controller; and (2) for the DRAM device, the “starting

 point” is when the DRAM receives the read command, a time after the RCD receives the

 command; and the “end point” is when the read data is outputted by the DRAM and therefore

 made available from the DRAM to the data buffer. (Dkt. No. 173 at 25-26.) As support, Netlist

 cites Dr. Mangione-Smith’s testimony explaining how the read and write data flows through the

 data buffer between the memory device and the host:

        Q. And so for a read command, what’s the flow of data look like?
        A. So for a read command, the memory controller will send it first to the RCD, and
        that’s when the module gets the command. And then subsequent -- after that, the
        RCD will send read commands to the individual DRAMs.
        Q. And what does the DRAM do when it gets a read command?
        A. Well, it responds to that command, pulls out the data that’s being asked for, and
        provides it to the data buffer.
        Q. And what happens after that?
        A. Then the data buffer holds onto that data for a short period of time, that’s the
        delay, and then it provides it to the host, to the memory controller.

        (Dkt. No. 173 at 25 (citing Trial Tr. at 393:1-13). Netlist contends this is supported by

 Dr. Stone’s testimony when Dr. Stone agreed that “the actual latency of the memory device is

 between when the command is received by the device and when the read data is at the output of

 the device in the read context” and that “the output of the DRAM device means the point at which

 the data is usable by the module.” (Dkt. No. 173 at 25 (citing Trial Tr. at 760:17-25).)

        Netlist then notes that Dr. Mangione-Smith explained that “the actual operational CAS

 latency of the DRAM devices themselves is added to the buffer delay of the data buffers to produce

 the overall CAS latency.” (Trial Tr. at 393:23-25.) Dr. Mangione-Smith further testified that the




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        In addition, Netlist notes that Dr. Mangione-Smith points to testimony from Micron’s

 witnesses to show that some amount of delay occurs when the data buffer holds on to the read data

 for a short period of time. (Id. at 26 (citing, e.g., Trial Tr. at 392:15-20 (“Q. And what did Mr. Ross

 say about whether the data buffers they put into the Micron products added some delay to those data

 transfers? A. Well, we saw some registers in that circuitry, and Mr. Ross was asked about the data

 buffers, and he agreed that they would add latency to data transfers.”); 396:3-12; 536:23-537:1 (“Q.

 So on LRDIMMs, does the addition of data buffers add delay to data transfers between the memory

 controller and the DRAMs? A. [Mr. Ross:] Yes.”); 561:17-22 (Mr. Cyr testifying that the “data

 buffer will introduce a propagation delay”).) Based on this testimony, Netlist contends that a jury

 could have reasonably found that this delay in data buffer alone would establish that the overall

 CAS latency of the memory module is greater than the actual operational CAS latency of the

 DRAMs. (Dkt. No. 173 at 26.)

        Netlist contends, moreover, that additional substantial evidence supports the jury’s verdict.

 (See Dkt. No. 173 at 27-29.) For example, Netlist claims that Dr. Stone “admitted on

 cross-examination that the CAS latency limitation was met for read operations.” (Id. at 28.)

 The relevant portion of that cross-examination went as follows:

        Q. … The actual latency is when the data, the read data is output from the DRAM
        such that it’s usable by the device. Correct? Usable by the module.
        A. That’s correct.
        Q. And the overall latency is that plus the buffer. Correct?
        A. That’s correct.
        Q. And for read commands, the overall module delay will always be greater than
        the actual delay of the memory device. Correct?
        A. That’s correct.

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        ...
        Q. It literally says that the overall latency is greater than the actual latency of the
        memory device. Correct?
        A. There’s a context in which it’s correct, yes.
        ...
        Q. The overall is always greater in the read context.
        A. That’s correct.
        Q. That’s for all of Micron’s accused LRDIMMs. Correct?
        A. That’s correct.

 (Trial Tr. at 763:14-24, 764:4-6) (emphasis added). From this exchange, Netlist contends that a

 reasonable jury would understand that “overall latency” and “actual latency” refer respectively to

 the “overall CAS latency” of the memory module and the “actual operational latency” of the

 memory device cited in the claims and consequently, the jury could arrive at the factual

 determination that Micron’s products meet the CAS latency limitation for at least the “read”

 operation. (Dkt. No. 173 at 29.)

        Micron responds, nonetheless, that Netlist cannot prove infringement of the CAS latency

 limitation because Netlist failed to provide any evidence at trial of the timing requirement of

 “overall CAS latency” and “actual operational CAS latency” as those terms are construed by the

 Court. (Dkt. No. 178 at 9.) Micron contends that Netlist’s post hoc attempt to add that evidence

 now, by arguing the timing of the “starting point” and “end point” is improper since it was not

 offered at trial. (Id. at 9-10.) Netlist argues, however, that Micron is wrong that Netlist did not

 offer any contention at trial of the “starting point” and “end point” for the “overall CAS latency”

 and “actual operational CAS latency” because Netlist pointed to extensive evidence from

 Dr. Mangione-Smith and Dr. Stone. (Dkt. No. 185 at 8 (citing e.g., Trial Tr. at 393:1-13 (discussing

 the flow of data through the data buffer and between the memory device and the host)).)



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         Micron further contends that Netlist’s argument that a jury may have understood

 Dr. Stone’s cross-examination testimony as referring to the Court’s construction of the claim terms

 is also improper speculation and not substantial evidence because Dr. Stone was “actually and

 strategically asked about unclaimed latency terms that Netlist’s counsel had defined differently.”

 (Id. at 10.) Netlist responds not only by claiming that Micron does not explain how the terms used

 in cross-examination are inconsistent with the claimed terms, but also by demonstrating that

 “Dr. Stone used these terms interchangeably throughout his direct examination.” (Dkt. No. 185 at

 8 (citing e.g., Trial Tr. at 685:16-686:3 (“Q. Please explain to the jury the concept of CAS latency as it’s

 used in this patent. A. Okay. I wanted to point to the word ‘latency’. What’s latency? That’s a delay. It’s

 a difference in time. So each latency starts at a particular time and ends at a particular time. And these

 are crucial for the operation of a memory module. Okay? So we have latency in our mind. There are two

 types of latency. We have an overall and we have an actual operational.”) (emphasis added).)

         Having reviewed the Motion, the subsequent briefing, and the applicable trial exhibits, the

 Court finds that a reasonable jury could determine that Micron’s products meet the CAS latency

 limitation. In this case, the CAS latency limitation in Claim 1 of the ’417 Patent requires that the

 overall CAS latency of the memory module be greater than the actual operational CAS latency of

 the memory devices. (See JX-1 at 42:63-67.) During the trial, the jury heard testimony from

 several witnesses, including Dr. Mangione-Smith, Mr. Cyr, Mr. Ross, and Dr. Stone, that would

 allow them to find that the overall CAS latency of the memory module in Micron’s products is

 greater than the actual operational CAS latency in the memory devices.

         As a preliminary matter, the jury heard Dr. Mangione-Smith explain how the CAS latency

 limitation is met. (See e.g., Trial Tr. at 390:14-399:10; 402:5-405:15; 416:16-420:10.).)

 Specifically, the jury heard Dr. Mangione-Smith begin testifying about this limitation by



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 explaining the Court’s construction of “actual operational CAS latency” and “overall CAS

 latency” and the requirement that the “overall CAS latency” be greater than the “actual operational

 CAS latency” of the individual DRAM chips. (Trial Tr. at 390:14-391:23.) Dr. Mangione-Smith

 subsequently discussed testimony from Mr. Ross where Mr. Ross stated that the data buffers put

 into Micron’s products added latency to the data transfer. (Trial Tr. at 392:15-20; 536:23-537:1

 (“Q. So on LRDIMMs, does the addition of data buffers add delay to data transfers between the

 memory controller and the DRAMs? A. [Mr. Ross:] Yes.”).) Dr. Mangione-Smith also discussed

 testimony from Micron’s engineers, such as Mr. Cyr, that stated the data buffers actually add the

 flow of data for read and write commands. (Trial Tr. at 396:3-12; 561:17-22 (“Q. And will add a

 time delay in its flow from the – for example, from the host system to the DRAM? A. The -- the

 data buffer will introduce a propagation delay. Q. And that’s a time delay? A. Time delay.

 Correct.”).) The jury further heard Dr. Mangione-Smith testify that the “actual operational CAS

 latency of the DRAM devices themselves is added to the buffer delay of the data buffers to produce

 the overall CAS latency.” (Trial Tr. at 393:23-25.) Dr. Mangione-Smith supported this testimony

 using source code. (See e.g., id. at 416:16-25.) From this testimony, the Court agrees with Netlist

 that a jury could reasonably conclude that this delay in the data buffer establishes that the overall

 CAS latency of the memory module is greater than the actual operational CAS latency of the

 DRAMs. (See, e.g., Trial Tr. at 393:23-25; 416:16-25; Dkt. No. 173 at 26.) Given that Dr. Stone

 admitted he did not analyze the applicable source code (see Trial Tr. at 708:8-11), a reasonable

 jury could also have given less weight to Dr. Stone’s testimony on this point, to the extent that he

 reached a different conclusion than Dr. Mangione-Smith.

        In addition to the testimony from Dr. Mangione-Smith, Mr. Ross, and Mr. Cyr, the jury

 heard Micron’s own expert witness, Dr. Stone, admit that the CAS latency limitation was met.



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 Specifically, the jury heard Dr. Stone admit that “for read commands, the overall module delay

 will always be greater than the actual delay of the memory device” and also that for “all of

 Micron’s accused LRDIMMs,” the “overall is always greater in the read context.” (Id. at

 763:14-24, 764:14-18.) While Micron claims that Netlist strategically asked Dr. Stone about

 unclaimed latency terms instead of the claimed “actual operational CAS latency” and “overall

 CAS latency” terms, the Court is not persuaded by Micron’s argument. Dr. Stone used the terms

 “actual latency” and “overall latency” interchangeably with the claimed “actual CAS latency” and

 “overall CAS latency.” As just another example, when Dr. Stone offered his contrary position, he

 stated that “[y]ou can actually measure that, 1.5 cycles longer for the actual than the overall” (Trial

 Tr. at 691:9-10.) Consequently, the admission by Dr. Stone that the overall module delay will

 always be greater than the actual delay of the memory device for “read” commands is sufficient

 evidence to support the jury’s verdict.

        Ultimately, the Court finds that substantial evidence supports the jury’s finding that the

 CAS latency limitation, which requires that the overall CAS latency of the memory module be

 greater than the actual operational CAS latency of the memory devices, is met. Accordingly, the

 Court finds that judgment as a matter of law for non-infringement of the ’417 Patent is not

 appropriate under the arguments Micron’s proffers in its Motion.

 IV.    CONCLUSION

        For the reasons stated herein, the Court finds that Micron’s Motion (Dkt. No. 159) should

 be and hereby is DENIED.

        The parties are directed to jointly prepare a redacted version of this Order for public

 viewing and to file the same on the Court’s docket as an attachment to a Notice of Redaction within

 five (5) business days of this Order.



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    So ORDERED and SIGNED this 11th day of June, 2025.




                                             ____________________________________
                                             RODNEY GILSTRAP
                                             UNITED STATES DISTRICT JUDGE
